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UNITED STATES I)ISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
SHREVEPORT I)IVISION

JESSE I)ENNIS, JR., TERESA =f= CIVIL ACTION No. 13-cv-1339
DENNIS, the ESTATE oF
JAMES DENNIS, sR. and the
ESTATE oF DECEDENT,
LUE REE DENNIS

VERSUS JUDGE HICKS
BoSsIER HEALTHCARE, LLC,
d/b/a HERITAGE MANoR oF
1305st * MAGISTRATE JUDGE HoRNsBY

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MOTION TO DISMISS WITHOUT PREJUI_)ICE
NOW INTO COURT, through undersigned counsel, come J esse Dennis Jr., Teresa
Dennis, the Estate of James Dennis Sr. and the Estate of Decedent, Lue Ree Dennis,
Plaintiffs herein, and upon noting that Plaintiff has filed a concurrent matter in state
court, both counsel are in mutual agreement to pursue the state court claim in lieu of
litigating in federal court. Plaintiff respectfully moves for an order from this Honorable
Court voluntarily dismissing the above-captioned matter Without prejudice
Respectfully submitted,
August 7, 2013 /s/ Patrick R. Jackson
Patrick R. Jackson #25722
Patrick R. Jackson, A.P.L.C
4442 Viking Drive, Suite 100
Bossier City, Louisiana 71111

(318)752-3335
(318)752-3315

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CERTIFICATE OF SERVICE
l hereby certify that I have notified Gaye Nell Currie, Post Of`fice Box 651,
Jackson, Mississippi 39205, of the filing of this matter through the Court’s ECF filing
system this 7th day of August 2013.

/s/ Patrick R. Jackson

